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                             UNITED STATES DISTRICT COURT
                              OF THE DISTRICT OF COLUMBIA

 KIMBERLY KATORA BROWN, et al.

                         Plaintiffs,
                                                    Civil Action No:        13-569 (CRC)
 v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

                         Defendant.


        PLAINTIFFS’ RENEWED MOTION FOR CLASS ACTION TREATMENT


       Named plaintiffs (defined in the attached Memorandum and Proposed Order) hereby

respectfully move this Court pursuant to Fed. R. Civ. P. 23(a) and 23(b) (2) and 23(b) (3) to enter

an order certifying the classes defined in the attached Proposed Order, appointing them as Named

Plaintiffs as indicated in the Proposed Order, and appointing William Claiborne and Lynn

Cunningham as class counsel and for other relief requested herein.


       Named Plaintiffs do request a hearing on this motion.


CONSENT SOUGHT BUT NOT OBTAINED


       Named Plaintiffs sought consent from defendant before filing this motion pursuant to

LCvR 7(m) but defendant did not consent.


MOTION TIMELY FILED


       The original motion for class action treatment based on the First Amended Complaint was

filed before the expiration of the 90 day period of LCvr 23.1(b) and this motion is timely filed.


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MOTION BASED ON PLAINTIFF’S SECOND AMENDED COMPLAINT


       This motion is based on plaintiffs’ Second Amended Complaint [15]. Plaintiffs propose

revised class definitions for some classes based on their investigations.


DEFENDANT


       Defendant in the case is the District of Columbia.



       Respectfully submitted,                           Respectfully submitted,


       /s/ William Claiborne                             /s/ Lynn E. Cunningham
       WILLIAM CLAIBORNE                                 LYNN E. CUNNINGHAM
       D.C. Bar # 446579                                 D.C. Bar # 221598

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